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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                             FRANKFORT DIVISION
                      CIVIL ACTION NO. 13:18-CV-14-GFVT
                           (FILED ELECTRONICALLY)


 UNITED STATES OF AMERICA                                                PLAINTIFF

 V.                                     ANSWER

 TONI HARROD, ET AL.                                                   DEFENDANTS

                             ** ** ** ** ** ** ** ** ** ** ** **

        The Commonwealth of Kentucky, ex rel Division of Unemployment

 Insurance, for its answer herein states that:

        1.     It is without sufficient knowledge upon which to form a belief as to

               the truth of the allegations contained in the complaint except

               paragraph thirteen (13).

        2.     The lien mentioned in paragraph thirteen (13) of the complaint has

               been paid in full, except for the $5.00 lien fee, outside these

               proceedings. The Commonwealth of Kentucky, ex rel Division of

               Unemployment Insurance has no claim on the property which is the

               subject matter in this action.

        WHEREFORE, the Commonwealth of Kentucky, ex rel Division of

 Unemployment Insurance, demands:

        1.     That the complaint against it be dismissed.

        2.     Any and all other relief to which it may be entitled.
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                           COMMONWEALTH OF KENTUCKY

                           Education and Workforce Development Cabinet
                           Office of Legal and Legislative Services



                           /s/ Clay J. Lamb___________
                           Clay J. Lamb, Staff Attorney
                           300 Sower Blvd., 4th Floor
                           Frankfort, Kentucky 40601
                           Telephone: (502) 564-1490
                           Facsimile: (502) 564-9990

                                CERTIFICATION

       I hereby certify that a true copy of the foregoing Answer has been served

 by mailing same to the following on this the __31st __ day of __May__, 2018:

 Toni Harrod
 103 Hunter Ridge Drive
 Lawrenceburg, KY 40342

 A. George Mason, Jr.
 George Mason Law Firm, PSC
 3070 Lakecrest Circle
 Suite 400, PMB 278
 Lexington, KY 40513


                                  /s/ Clay J. Lamb__________
                                  Clay J. Lamb, Staff Attorney




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